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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA
                                          CASE NO: 09-20006-10
vs.
                                          DISTRICT JUDGE THOMAS L. LUDINGTON
DAWN SANTOVIZ                             MAGISTRATE JUDGE CHARLES E. BINDER
a/k/a Dawn Schwerin
                                   /


                     ORDER MODIFYING CONDITIONS OF RELEASE

        An Order Setting Conditions of Release was entered on December 16, 2008, as to this

Defendant. Pretrial Services has reported to this judicial officer that there are concerns with

the Defendant’s compliance with some of those conditions. After a meeting between Pretrial

Services, defense counsel and the Defendant, the parties have agreed to a modification of

the bond that would place the Defendant on a tether. With the Defendant’s agreement to be

detained until the tether can be put in place, the government will not make a formal motion for

detention. Having heard from all parties concerning this issue, IT IS ORDERED that the

Defendant’s bond conditions are modified to include the requirement that she be place on a

tether. IT IS FURTHER ORDERED that the Defendant shall not be released until the tether

has been put in place, and all other physical requirements for the tether to operate are put in

place. When they receive notice that everything is in place, the U.S. Marshal’s Service is

authorized to release Defendant Santoviz.

        Review of this Order is governed by 28 U.S.C. § 636(b)(1)(A) and E.D. Mich. LR

72.1(d)(1). Pursuant to Local Rule 72.1(d)(2), a copy of any objections is to be served upon

this Magistrate Judge.


                                                  s/   Charles E Binder
                                                               `


                                                 CHARLES E. BINDER
Dated: January 22, 2009                          United States Magistrate Judge
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                                       CERTIFICATION

      I hereby certify that this Order was electronically filed this date, electronically served
on Craig Wininger, Shane Waller and Shawn Sutton, and served on Pretrial Services and the
U.S. Marshal’s Service by other electronic means.

Date: January 22, 2009                    By    s/Jean L. Broucek
                                          Case Manager to Magistrate Judge Binder
